








TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00849-CV






In re Walter Lee Hall, Jr.






ORIGINAL PROCEEDING FROM TRAVIS COUNTY





M E M O R A N D U M   O P I N I O N


	Relator has filed an emergency motion for temporary relief and a petition for writ of
mandamus.  See Tex. R. App. P. 52.8, 52.10.  We deny both the motion for temporary relief and the
petition for writ of mandamus.


					__________________________________________

					David Puryear, Justice

Before Justices Puryear, Rose and Goodwin

Filed:   December 29, 2011


